       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 1 of 34




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Lori Saroya,                                    Case No.: 24-cv-110 (DWF/DTS)

               Plaintiff,

v.
                                                 MEMORANDUM IN SUPPORT
CAIR Foundation, Inc. d/b/a Council on            OF MOTION TO COMPEL
American-Islamic Relations & CAIR,

               Defendant.



                                   INTRODUCTION

                                                       purposefully created, published and

widely disseminated a defamatory press release about Plaintiff Lori Saroya               in

                                   ) for the purpose of destroying her reputation and her

credibility with respect to the public statements she and

record of sexual harassment and discrimination, retaliation against claimants, and other

misconduct.    The Press Release claimed that Saroya had committed the crimes of

cyberstalking and harassment, while also claiming that CAIR had proven that Saroya had

made false and defamatory statements about it in a prior lawsuit between the parties titled

CAIR Foundation Inc. v. Lori Saroya, Civil Action No. 0:21-cv-01267 (D. Minn.) (the

                   . This case is centered around wh

defamatory. Yet, CAIR has engaged in a complete stonewalling of discovery that has been
        CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 2 of 34




pending for close to three (3) months and that goes to the heart of the truth or falsity of



       In the prior lawsuit, CAIR alleged that Saroya defamed it and interfered with its



                                                                                              n

gender and religious discrimination both in its national office and in its chapters, its history

of fostering and indulging retaliation and sexual harassment both in its national office and

in its chapters, its longstanding practice of soliciting foreign funding and then concealing

that foreign funding and lying about it, and its use of donor funds to suppress, silence and

intimidate its employees and those who work directly for its chapters, including by

coercing the executing of agreements to stay silent about misconduct in exchange for

payment    are now directly at issue in this current litigation.

       In this litigation, Saroya served document requests and interrogatories on CAIR

close to three months ago, on May 7, 2024. In response, CAIR has objected to virtually

every interrogatory, failed to produce a single document in this case, and refused to even

commit to when it would produce the paltry amount of information it has agreed to produce.



not be tolerated. As discussed below,

and compel CAIR to produce documents and information responsive to Request Nos. 1-4,

8, 10-16, 18-25 and 32-41 and Interrogatory Nos. 4 and 10-19. 1


1
 With respect to the remaining discovery requests,                                40
days ago to produce responsive documents and substantive interrogatory answers, CAIR
                                              -2-
        CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 3 of 34




       Specifically, CAIR has refused to produce discovery that goes to the heart of the

central issue in this case                                  criminal allegations that Saroya is

                                                   zation and its supporters. To determine

whether CAIR truthfully stated that Saroya committed those crimes, which may be

protected speech, or falsely and defamatorily accused Saroya of those crimes, which would

be actionable, the Court must analyze the statements that Saroya made about CAIR, which

were the subject of the prior litigation. If Saroya was speaking truthfully about matters of

public concern with no intent to harm others, she cannot have committed a crime, under

longstanding First Amendment jurisprudence. See Garrison v. State of La., 379 U.S. 64,

              Truth may not be the subject of either civil or criminal sanctions where

discussion of public affairs is concerned      (emphasis added); see also Counterman v.

Colorado, 600 U.S. 66, 76 (2023) (overturning internet stalking conviction

Amendment precludes punishment, whether civil or criminal, unless the speaker s words

                                                                       Grimmett v. Freeman,

59 F.4th 689, 692 (4th Cir. 2023) (striking down criminal statute that prohibited making a



the Act likely criminalizes at least some truthful speech

Matter of Welfare of A.J.B., 929 N.W.2d 840, 853 (Minn. 2019) (striking down stalking-

by-




has completely failed to do so. Similarly, it has failed to commit itself to a date certain
when it will actually comply with its discovery obligations.

                                             -3-
        CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 4 of 34




statements is directly relevant

cyberstalking, harassment and other defamatory conduct. It also is directly relevant to

                                             , which was to discredit and harm Saroya. As

such, Saroya is entitled to the production of responsive documents and substantive answers

to interrogatories which form the basis of her discovery requests, such that her Motion to

Compel should be granted.

                                       BACKGROUND

I.     CAIR COMMENCES A DEFAMATION ACTION AGAINST SAROYA

       On May 21, 2021, CAIR commenced the 2021 Litigation. (See Decl. of Steven C.

Kerbaugh dated July 26,

state a few causes of action, its action was primarily one for defamation. (See id. Ex. 1 ¶¶

166-87, 190-91, 203.)2 All of            claims had at their core that Saroya made certain

online posts that CAIR maintained were not true. (See, generally, id. Ex. 1.) Among the

statements that CAIR claimed were actionable were the following:

        statements relating to gender and religious discrimination, sexual harassment,
        hostile work environment and retaliation within CAIR (see, e.g., id. Ex. 1 ¶ 79);

        statements relating to CAIR having engaged in union busting (see, e.g., id. Ex. 1
        ¶ 79);

        s                                                                        see, e.g.,
        id. Ex. 1


2
  The history of the 2021 Litigation
in this matter. (See                                                            -66.)

                                            -4-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 5 of 34




        ineffective organization with corru

        statements relating to CAIR having received foreign funding (id. Ex. 1 ¶¶ 119

                                                       was actionable); see also id. Ex. 1
        ¶¶ 120-21); and

        s
                                                                            . (Id. Ex. 1 ¶
        80.)

When CAIR refused to produce documents relating to the truth or falsity of such statements

in the initial lawsuit, Saroya was forced to repeatedly move to compel in the 2021

Litigation. (See, e.g., 2021 Litigation Docket, ECF Nos. 37, 55.)

       Saroya also filed a motion for partial judgment on the pleadings in the 2021

Litigation, arguing that the claims should be dismissed because, among other things, they

were statements of non-actionable opinion. (See Compl. ¶ 60, Ex. 1.) During the hearing

on the motion, Judge Nelson noted that

                                           Id. Ex. 1. at 23.) As a result of this and other



on the pleadings without prejudice, but ordered CAIR to file an amended complaint within

two weeks. (Id. Ex. 1 at 30.) In so ruling, the Court noted in part:

       I am going to rule from the bench that the motion is denied without
       prejudice and that the plaintiff is permitted to amend --
       holiday but we do have to move this ahead. So I am going to ask you to do


       And I want there to be a lot of -- I want to see a lot of discipline in that
       because the -- a lot of these complaints, although they may be valid, they
       may be defamatory, they are not actionable. I mean, we really have to get


                                              -5-
        CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 6 of 34




       This is especially true of the statute of limitations. There will be an
       opportunity to p
       confusion that statements made outside of the statute are somehow
       actionable. So I want to see a lot of discipline to this amendment; and once
                                                                    what you choose
       to do next. I th

(Id. Ex. 1 at 30.)

       With two discovery motions pending that may have forced CAIR to disclose

                                                             , and an order from the Court

that CAIR narrow its allegations, CAIR voluntarily dismissed its action against Saroya in

its entirety with prejudice. (See 2021 Litigation Docket, ECF No. 88.) The Court

dismissed the CAIR action with prejudice on January 11, 2022. (Id.)

II.    CAIR ISSUES THE DEFAMATORY PRESS RELEASE

       Despite having dismissed its lawsuit, CAIR did not cease its efforts to discredit

Saroya. (Compl. ¶ 67.) Promptly after the dismissal of the CAIR action, on January 20,

2022, CAIR published a false and defamatory Press Release on its website titled

Community Update on Cyberstalking by Lori Saroya, Ex-Staffer. (Id. ¶ 68, Ex. 4.) In the



federal and Minnesota law. (Id. ¶¶ 69-77 (citing 18 U.S.C. § 2261A; Minn. Stat. §



past several years using anonymous email accounts and social medial profiles to cyberstalk,

smear and undermine our national office, local chapters, volunteers and community

partners with help from anti-Muslim                Id. ¶ 73, Ex. 4.) CAIR further alleged,



                                            -6-
          CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 7 of 34




defamation lawsuit against Lori in 2021 to expose the truth and protect our team in a court

                                     Id. ¶ 74, Ex. 4.)

          Similarly, CAIR accused Saroya of harassment. For example, CAIR alleged:

          First, the litigation had already allowed us to prove her conduct: working
          with Islamophobes, sending hundreds of anonymous emails in the middle
          of the night attacking our civil rights organization, harassing us and our
          supporters on social media, among many other things.

(Id. Ex. 4.) In so alleging, CAIR not only accused Saroya of yet another crime (i.e.,



litigation (i.e., that she had engaged in defamation and, thus, that her statements were

purportedly false). These allegations are simply false, and indeed, are not only defamatory,

but defamatory per se. (See id. ¶¶ 78-80, 82.)

III.

                                          Press Release is apparent     it sought to blacken

                                               in the community and silence her and others

                                                          See id. ¶¶ 1, 77.) And while CAIR

cannot succeed in its efforts to keep Saroya from telling the truth about her experiences at

CAIR, it has succeeded in causing significant emotional distress and injury to Saroya and

her reputation. (See id. ¶ 7.) For example, Saroya has been forced to endure online and

in-person bullying and harassment, alienation from members of her religious community,

and loss of employment opportunities. (Id.) As a result, Saroya was forced to bring this

action.




                                              -7-
        CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 8 of 34




                   Complaint states two claims    one for defamation and one for intentional

infliction of emotional distress. (Id. ¶¶ 100-116.) Both of those claims have at their core

that CAIR maliciously engaged in defamatory conduct, including making false statements

in the Press Release that Saroya engaged in cyberstalking and harassment, and that CAIR

was able to prove in the 2021 Litigation that she engaged in defamatory conduct. (See id.)

Saroya now seeks documents and information relating to her claims, which CAIR has thus

far denied.

IV.    PROCEDURAL POSTURE

       Saroya served her initial requests for production and interrogatories to CAIR on

May 7, 2024. (Kerbaugh Decl. Exs. 2-3.) She followed up with a second set of document

requests to CAIR served on May 14, 2014. (Id. Ex. 4.) As discussed infra, those requests

                                                                     her when it accused her

of cyberstalking, harassment, and having engaged in defamatory conduct by publicly

disclosing information relating to CAIR that Saroya knows to be true. (Id. Exs. 2-4.) CAIR

responded by issuing myriad objections, indicating with regard to numerous requests that

it would not be producing any documents or information despite its relevance to this action.

(Id. Exs. 5-7.)3

       Counsel for the parties first met and conferred by telephone on June 14, 2024. (See

id. Ex. 8.) They subsequently exchanged correspondence dated June 20 and June 25,


3
  Notably, as of the submission of this motion, CAIR has not even produced the documents
that it has agreed to produce, despite the discovery requests having been issued close to
three months ago.

                                            -8-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 9 of 34




respectively. (Id. Exs. 8-9.) During the course of the meet and confer process, Saroya

made numerous offers of compromise, including narrowing the subject matter of certain

requests, narrowing the timing of certain requests, agreeing to treat certain information as

          -eyes only, and so forth. (Id. Ex. 8.)4 Despite this, the parties were unable to

resolve the issues identified in this motion. Saroya thus now respectfully requests that the

Court grant her motion to compel the production of documents and information responsive

to her Request Nos. 1-4, 8, 10-16, 18-25, 32-41 and Interrogatory Nos. 4 and 10-19 to CAIR.

                    SUMMARY OF THE REQUESTS AT ISSUE

       Below is a brief summary of the Requests and Interrogatories at issue for the purpose

of this Motion, a summary of their relevance for the purpose of this action, and a summary
                                                                                     5



I.     COMMUNICATIONS THAT CAIR HAS HAD RELATING TO SAROYA,
       THE 2021 LITIGATION AND THE PRESS RELEASE

       One category of evidence that Saroya seeks, but which CAIR maintains it should

not be required to produce, involves communications referring to Saroya, the 2021


4
  A chart reflecting the at
requests, and the                                                             at least three
business days before the hearing pursuant to the process set forth at page 4 of the Pretrial
Scheduling Order dated May 2, 2024 (ECF No. 27).
5
  The full text of the document requests and interrogatories served on CAIR can be found
at the Kerbaugh Declaration as Exhibits 2-4, pursuant to District of Minnesota Local Rule

requests at issue and word cou


Declaration as Exhibits 5-7 pursuant to District of Minnesota Local Rule 37.1(c).

                                            -9-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 10 of 34




Litigation and/or the Press Release from May 11, 2018 to present. Communications with

and relating to Saroya are patently relevant for numerous reasons, including without

limitation that: (a)

engaged in cyberstalking and harassment; (b) they relate to and demonstrate the

background of this action and relationship between the parties; (c) they relate to and bear

                                                                             -à-vis Saroya;

and (d) they demonstrate the extent to which CAIR has made false statements relating to

Saroya, both internally and to third parties. Communications relating to the 2021 Litigation

are relevant because CAIR made representations relating to it in the Press Release,

including the false representations that it had proved its claims in the action. (See Compl.

Ex. 4.) And, of course, communications relating to the Press Release are relevant in that

the creation and dissemination of that Release is the core of this action and what made it

necessary in the first place.

       Among the requests that Saroya has issued to CAIR relating to these topics are the

following Document Requests:6

       No. 1 (documents and communications relating to Saroya);


       with CAIR, including her personnel file);


       volunteer efforts for or employment by CAIR-Minnesota, employment by CAIR


6
  Document Request Nos. 1-32 are found at Exhibit 2 to the Kerbaugh Declaration.
Request Nos. 33-
responses can be found at Exhibit Nos. 5 and 7 to the Kerbaugh Declaration, respectively.

                                            -10-
CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 11 of 34




No. 4 (documents re
from CAIR);

No. 8 (documents relating to communications concerning the 2021 Litigation);

No. 10 (documents relating to agendas or minutes of any CAIR Board meeting
concerning the 2021 Litigation, the Press Release or Saroya from May 2018 to
present);


concerning the 2021 Litigation, the Press Release or Saroya from May 2018 to
present);

No. 12 (documents relating to statements by named officers of CAIR concerning
the 2021 Litigation, the Press Release or Saroya from May 2018 to present);

No. 13 (documents relating to communications between CAIR and the media
concerning the 2021 Litigation, the Press Release or Saroya from May 2018 to
present);

No. 14 (documents relating to communications between CAIR and any CAIR
chapter or employee concerning the 2021 Litigation, the Press Release or Saroya
from May 2018 to present);

No. 15 (documents relating to communications between CAIR and any donor
concerning the 2021 Litigation, the Press Release or Saroya from May 2018 to
present);

No. 16 (documents relating to communications between CAIR and any public
relations or crisis management firm or consultant concerning the 2021 Litigation,
the Press Release or Saroya from May 2018 to present);

No. 18 (documents relating to communications between CAIR and Saroya from
May 2018 to the present);

No. 24 (documents relating to communications to the public CAIR made relating


No. 25 (documents relating to statements by CAIR that Saroya was engaged in
cyberstalking);


                                    -11-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 12 of 34




       No. 39 (documents relating to media inquiries about or coverage of the 2021
       Litigation, including documents related to the status and/or dismissal of the
       lawsuit);

       Saroya also issued the following I

with and/or about Saroya:7

       Interrog. No. 4 (identification of every statement by CAIR to any chapters or
       affiliates, or issued to the media or public, relating to Saroya since January 2018);

       Interrog. No. 12 (identification of every complaint, grievance or claim of any kind
       against Saroya by any person affiliated with CAIR); and

       Interrog. No. 13 (identification of every document relating to an evaluation of




Interrogatories is that they are overly broad and/or unduly burdensome, not reasonably

calculated to lead to the discovery of admissible evidence, and not proportional to the needs

of the case. (Kerbaugh Decl. Ex. 5 at Request Nos. 1-4, 8, 10-16, 18, 24-25; Ex. No. 6 at

Interrog. Nos. 4, 12-13; Ex. 7 at Request No. 39.) 8

Saroya offered numerous compromise positions, including: (a) limiting the temporal scope

of many of the requests to January 1, 2016 to the present (Request Nos. 1-4, 11-15, 24-25);

(b) narrowing requests regarding communications to a certain subset of the individuals who


7



8
  CAIR further objects to certain requests as calling for privileged information. Saroya has
made it clear during the meet and confer process that she is not seeking privileged
information. (See Kerbaugh Decl. Ex. 8.) To the extent that responsive information is
privileged, it can be logged to allow Saroya to assess the legitimacy of the privilege claim,
although no log has been produced to date.

                                            -12-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 13 of 34




may have engaged in them (Request Nos. 8, 11-15); (c) agreeing to the redaction of

material not relevant to the topics identified in the request (Request No. 10); and agreeing

                                                      -eyes only (Interrog. No. 4). (Id. Ex.

8.) Despite this, CAIR refuses to produce documents and information responsive to the

above requests. (Id. Ex. 9.)

II.    INFORMATION PERTAINING TO THE TRUTH OF STATEMENTS
       THAT CAIR HAS ALLEGED CONSTITUTED CYBERSTALKING ,
        HARASSMENT AND DEFAMATION

       As discussed above, Saroya commenced this action because CAIR has falsely and

publicly

Ex. 4.) But by posting the statements that CAIR claims constitute stalking and harassment,

Saroya was simply publicly disclosing the truth about her experiences with CAIR and

                 in an effort to educate the public about the organization. Making accurate

statements for the public good does not constitute the crime of stalking or harassment.

Thus, the truth of the statements that CAIR alleges constitute illegal conduct is relevant to

this action. See Garrison, 379 U.S. at 74      ruth may not be the subject of either civil or

criminal sanctions where discussion of public affairs is concerned

       Second, the tr



effort to intimidate Saroya from making truthful statements about CAIR.

       Furthermore, CAIR alleged in the Press Release that the Judge in the 2021 Litigation



CAIR alleged in that lawsuit was defamation. (See Kerbaugh Decl. Ex. 1.) In issuing the

                                            -13-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 14 of 34




Press Release, then, CAIR was alleging that it was able to prove that the communications

which formed a basis for its defamation claim (and those that form the basis for the

cyberstalking and harassment allegations) were indeed false. Therefore, again, the truth of

those statements is germane to this litigation.

       By her Document Requests and Interrogatories, then, Saroya seeks information

relating to numerous statements that were at issue in the 2021 Litigation. For example,

Saroya seeks documents and information that will demonstrate the truth of statements

relating to:

       Gender and religious discrimination, sexual harassment, hostile work environment
       and retaliation within CAIR. (See id. Ex. 1 ¶ 79.) Discovery requests speaking to
       this issue include:

           o Request No. 19 (documents relating to claims, complaints or allegations
             from CAIR employees of sex or gender discrimination, sexual harassment
             or retaliation);

           o Request No. 20 (documents relating to claims, complaints or allegations by
             employees of chapters or affiliates of CAIR concerning sex or gender
             discrimination, sexual harassment or retaliation);

           o Request No. 21 (documents relating to any investigation or factfinding
             conducted by or on behalf of CAIR related to any claim of sex or gender
             discrimination, sexual harassment or retaliation);

           o Request No. 22 (documents relating to any investigation or factfinding of
             any kind conducted by or on behalf of a CAIR chapter or affiliate related to
             any claim of sex or gender discrimination, sexual harassment or
             retaliation);

           o Request No. 23 (documents relating to allegations of misconduct by CAIR
             officer Zainab Chaudry);

           o Request No. 38 (documents relating to allegations of misconduct by CAIR-
             Florida officer Hassan Shibly);


                                             -14-
CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 15 of 34




   o Request No. 40 (documents relating to Karen Leslie Hernandez, who
     asserted claims against CAIR after the termination of her employment);

   o Request No. 41 (documents relating to Mariam Amer, who alleged that she


   o Interrog. No. 10 (identification of every employee of CAIR, or a chapter or
     affiliate, who has asserted that they have been subject to discrimination,
     harassment or retaliation);

   o Interrog. No. 11 (description of any investigation conducted by CAIR in
     response to the assertions at issue in Interrogatory No. 10);

   o Interrog. No. 15 (description of any investigation conducted by CAIR or on
     its behalf by an external investigation of allegations of misconduct by any
     CAIR director or employee since 2011);

   o Interrog. No. 17 (identification of every lawsuit or administrative claim
     filed by any individual, entity or agency against CAIR or any of its
     directors or employees since 2011); and

   o Interrog. No. 18 (identification of every criminal indictment or information
     issued against, or guilty plea entered by, any individual who is or was an
     employee or officer of CAIR since 2011).

                                                                         See, e.g.,
Kerbaugh Decl. Ex. 1


ineffective organization with                 .) Discovery requests speaking to
this issue include:

   o Request No. 35 (documents relating to the exchange, transfer or division of
     assets between or among CAIR Foundation, CAIR, Inc., CAIR Action
     Network and the Washington Trust Foundation, including a loan totaling $1
     million from CAIR, Inc. to CAIR Foundation disclosed in a Form 1023
     filing);

   o
       Whistleblower Policy and Document Retention Policy, as required under
       the Sarbanes-Oxley Act); and



                                   -15-
         CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 16 of 34




            o Request No. 37 (documents relating to any report, analysis or
              recommendations provided by any consulting or outside firm relating to
              CAIR governance or management commissioned or received during the
              tenure of CAIR Board Chair Parvez Ahmed).

         Statements relating to CAIR having received foreign funding. (See. e.g.,
         Kerbaugh Decl.

         actionable), 120-21.) Discovery requests speaking to this issue include:

            o Request No. 32 (documents demonstrating the names of every contributor
              to CAIR in an amount over $5,000 for any year from 2014-2022);

            o Request No. 33 (documents relating to contributions to CAIR, or any
              affiliate, by any individual or entity within, or any governmental unit of,
              Saudi Arabia, Qatar or Kuwait between 2007 and 2014); and

            o Request No. 34 (documents relating to the acquisition by CAIR or an
              affiliate of property located at 921 2nd St. NE in Washington D.C.,
              including the sources of the funding for the acquisition).


                                                                             (See
         Kerbaugh Decl. Ex. 1 ¶ 80.) Discovery requests speaking to this issue include:

            o Interrog. No. 16 (identification of every lawsuit, including defamation suit,
              that CAIR has filed from 2011 to the present); and

            o Interrog. No. 19 (identification of every settlement agreement, severance
              agreement or non-disclosure agreement entered into with any individual by
              CAIR since 2011).

         Again, CAIR broadly objected to these discovery requests. The purported bases for

its objections to each of these requests is that it is overly broad and/or unduly burdensome,

not reasonably calculated to lead to the discovery of admissible evidence, 9 and not




9
    As a corollary to its relevance objection, CAIR claims that it should not be forced to

                                             -16-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 17 of 34




proportional to the needs of the case. (See Kerbaugh Decl. Ex. 5 at Request Nos. 19-25,

32; Ex. 6 at Interrog. Nos. 10-15, 17-19; Ex. 7 at Request Nos. 33-35, 38, 40-41.) 10 In

                                                                                           :

(a) narrowing the temporal scope of the requests from January 1, 2016 to January 20, 2022

(i.e., the date of the posting of the Press Release) (Request Nos. 19-25; Interrog. Nos. 13-

15); and (b)                                                                    -eyes only

(Request Nos. 32-35, 38, 40-41; Interrog. Nos. 10-12, 15, 17-19). (Id. Ex. 8.) Despite this,

CAIR has not produced any responsive information. (Id. Ex. 9.)

III.   INFORMATION PERTAINING TO THE MEANS BY WHICH CAIR MAY
       HAVE DISSEMINATED DEFAMATORY COMMUNICATIONS
       RELATING TO SAROYA

       Interrogatory No. 14 seeks the identity of every email account, social media account,

YouTube account, and Internet address used by CAIR since 2011. (Id. Ex. 3.) Information

responsive to this Interrogatory is likely to lead to discoverable information in that every

responsive account is a potential source from which CAIR and/or its agents may have

published defamatory matter relating to Saroya. Despite this, CAIR objected to this

Interrogatory as overly broad, unduly burdensome and not reasonably calculated to lead to

the discovery of admissible evidence.      Despite Saroya having agreed to narrow the

temporal scope of the Interrogatory to January 1, 2018 to the present, CAIR still refuses to



possession, custody or control. (See, e.g., Kerbaugh Decl. Ex. 6 at Interrog. Nos. 1-2, 10-
19; Ex. 7 at Request Nos. 33-35, 40-41.)
10
  CAIR further objects to certain requests as calling for privileged information. Again,
documents responsive to those requests can be logged.

                                            -17-
         CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 18 of 34




produce responsive information. (See id. Exs. 8-9.) The Court should compel CAIR to

produce this information, as well as that addressed above.

                                          ARGUMENT

I.       THE RULES REQUIRE CAIR TO PRODUCE INFORMATION RELEVANT TO




                                               Fed. R. Civ. P. 26(b)(1). Information

not be                                                 Id.                      discovery,

                                                                               reasonably

could lead to other matter that could bear on, any issue that is or may be in the

Walker v. Nw. Airlines Corp., 2002 WL 32539635, at *1 (D. Minn. Oct. 28, 2002)

(quotation omitted); see also Hickman v. Taylor, 329 U.S. 495, 507 (1947) (the rules

provide                                                           -honored cry of



                     Kramer v. Boeing Co., 126 F.R.D. 690, 692 (D. Minn. 1989) (noting

t                                                                          overy phase of



                                                   LNV Corp. v. Outsource Serv. Mgmt.,

LLC, 2013 WL 12180768, at *3 (D. Minn. Nov. 14, 2013) (quoting 8 Charles Alan Wright,

et al., Federal Practice and Procedure § 2008 (2013) (citing cases)).

                                                                                         t

information available to the litigants.                                          gathered


                                            -18-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 19 of 34




by both p

(quoting Hickman , 329 U.S. at 507); see also Transclean Corp. v. Bridgewood Servs., Inc.,

101 F. Supp. 2d 788, 797 (D. Minn. 2000) (noting that the



Edgar v. Finley, 312 F.2d 533, 535 (8th Cir. 1963). Pursuant to these Rules, Saroya is

entitled to the information she seeks relating to her claims.

II.    CAIR MUST PRODUCE COMMUNICATIONS THAT IT HAS HAD
       RELATING TO SAROYA, THE 2021 LITIGATION AND THE PRESS
       RELEASE

       CAIR claims that certain communications with and relating to Saroya are not

relevant to this action. For several reasons, it is mistaken. All information relating to



Release bear on issues in this case. See Walker,

of discovery

reasonably could lead to other matter that could bear on, any issue that is or may be in the

       . CAIR should thus produce it.

       A.      Documents Relating to Communications Between Saroya and CAIR,


               Harassment

       In the Press Release, CAIR accuses Saroya of having engaged in cyberstalking and

                                                      broadly understood as crimes with well-

defined meanings. For example, federal law provides that it is a crime to:

       with the intent to kill, injure, harass, intimidate, or place under surveillance
       with intent to kill, injure, harass, or intimidate another person, use[] the mail,

                                             -19-
      CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 20 of 34




      any interactive computer service or electronic communication service or
      electronic communication system of interstate commerce, or any other
      facility of interstate or foreign commerce to engage in a course of conduct
      that:

              (A) places that person in a reasonable fear of death of or serious bodily
              injury to a person . . . or

              (B) causes, attempts to cause, or would be reasonably expected to
              cause substantial emotional distress to a person . . . .

18 U.S.C. § 2261A (Stalking). Similarly, Minnesota law provides:

      (a) A person who engages in stalking with respect to a single victim or one
      or more members of a single household which the actor knows or has reason
      to know would cause the victim under the circumstances to feel terrorized or
      to fear bodily harm and which does cause this reaction on the part of the
      victim, is guilty of a felony . . . .


      within a five-year period that violate or attempt to violate the provisions of
      any of the following or a similar law of another state, the United States, the
      District of Columbia, tribe, or United States territories: . . .

              (10) section 609.79 (obscene or harassing telephone calls);

              (11) section 609.79 (letter, telegram, or package; opening;
              harassment) . . . .

Minn. Stat. § 609.749, subdiv. 5 (Harassment; Stalking; Penalties). Saroya alleges that

                                         such conduct are defamatory per se. (See Compl.

¶¶ 100-09.)

      Of course, the sine qua non of a defamation claim is falsity.

Companion P.C.A., Inc., 653 N.W.2d 214, 218 (Minn. Ct. App. 2008) (the first element of




                                            -20-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 21 of 34




harassment.                                                            mmunications with and

about Saroya, will demonstrate that at no point did Saroya say anything intended to cause

anyone to feel terrorized or in fear of bodily harm, nor did anyone at CAIR actually

                                                          ements.

       Moreover, context is important in determining whether an individual engaged in

stalking or harassment. See State v. Franks, 765 N.W.2d 68, 75 (Minn. 2009) (noting in

                                                                                s and acts in

                                                                  State v. Hendriksen, 522



the victim . . . is often admitted in terroristic threats and domest

 puts the alleged conduct of the defendant in context, may help the jury in assessing the

                                     State v. McReynolds, 2021 WL 669027, at *2 (Minn.

Ct. App. Feb. 22, 2021) (noting that to determine whether an individual had reason to know




Documents and information relating to the relationship between the parties is thus relevant

                                                              legitimate motives in making

the statements she did.

       B.     The Discovery Sought Speaks to the Background Relationship Between
              the Parties and Pro
              Statements

       Information bearing on the relationship between the parties is also critical to

demonstrating

                                            -21-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 22 of 34




publishing the defamatory statements about Saroya in the Press Release, and, indeed,

                                                                     The context, timing, and

nature of CAI

place, what it was that CAIR sought to achieve by making them, its motivation in saying

what it said, how it said it, and to whom, are facts that are directly relevant and admissible

                                                          . Here, Saroya is entitled to show,

including through the evidence CAIR seeks to withhold, that the entire purpose of the

statements it has been making about her is to retaliate against her for raising public concern



concerns), and to destroy the credibility of Saroya and others, so that their public statements

will be disregarded.

                                                    and intent when making the statements

about Saroya in the Press Release, including the relationship between the parties, and the

very issues that have been front and center in these two interrelated pieces of litigation, is

necessary and relevant to determine whether the statements were published negligently,

and indeed, recklessly and intentionally. See, e.g., Stuempges v. Parke, Davis & Co., 297

N.W.2d 252, 258 (Minn. 1980) (analyzing hostile encounters between the plaintiff and the

defendant prior to the defamatory conduct in the context of determining whether it was

reasonable for the jury to have determined the presence of malice). Discovery relating to




                                             -22-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 23 of 34




       C.     The

       CAIR contends in its Answer that its statements were privileged. (Answer dated

Mar. 14, 2024 (ECF No. 23) at Affirmative Defense 4.) Privilege may be overcome if the

plaintiff shows that the statement was made with malice. See id. Malice under the common

law means that the defendant made the statement from ill will and improper motives, or

causelessly and wantonly for the purpose of injuring the plaintiff. See Mudrich v. Wal-

Mart Stores, Inc., 955 F. Supp. 2d 1001, 1029-30 (D. Minn. 2013) (noting that actions

external to the defamatory language itself, including prior comments that the defendant



malicious and can overcome qualified privilege). Malice may be proved by evidence that

the defendant knew that the statements were false or by extrinsic evidence of personal ill

feeling, or by intrinsic evidence such as the exaggerated language of the libel, the character

of the language used, the mode and extent of publication, and other matters in excess of

                Id. at 1029 (quotation omitted). Of course, documents and information

speaking to the history and relationship between the parties bear directly on the extent of

CAIR

to Saroya, the 2021 Litigation and the Press Release are relevant for this reason as well.

       D.     The Discovery Sought Will Demonstrate the Extent to Which CAIR
              Has Made False Statements Relating to Saroya



relating to its communications about Saroya and the 2021 Litigation are intended to prevent

Saroya from discovering additional instances of defamatory statements. At this point,


                                             -23-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 24 of 34




Saroya knows about the Press Release, but she cannot be sure of whether CAIR and its

agents have made additional false statements, or how many such statements were made, to

whom, and so forth. Saroya is entitled to discovery relating to communications that CAIR

has had on the at

misconduct.

       In sum, the contentious history between the parties here, as well as the prior

litigation history, will all be relevant and discoverable in this defamation action.

III.   CAIR MUST PRODUCE DOCUMENTS SPEAKING TO THE
       TRUTH/FALSITY OF THE ALLEGATIONS THAT IT CLAIMS
       CONSTITUTE CYBERSTALKING, HARASSMENT AND DEFAMATION




the Press Release. CAIR is wrong for three reasons. It should thus be obligated to produce

documents responsive to Request Nos. 19-23, 32-37 and 40-41, and Interrogatory Nos. 10-

11 and 15-19.

       A.       True Statements Regarding Matters of Public Concern Cannot Form
                the Basis for the Crimes of Cyberstalking or Harassment



                                                                                       and

                   when she publicly raised her concerns about CAIR. Indeed, in the Press

Release, CAIR accused Saroya of cyberstalking in four separate instances, including in the

                                                                     Community Update on




                                             -24-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 25 of 34




Cyberstalking by Lori Saroya, Ex-Staffer                                                 true,

though, they cannot constitute cyberstalking or harassment.

       In making the statements she did, Saroya was disclosing the truth about her

experience with CAIR

organization.     In doing so, she disclosed unlawful discrimination, harassment and



statements about matters of public concern 11 was protected speech, not unlawful

cyberstalking or harassment, because as the U.S. Supreme Court has expressly held for

sixty years:     t]ruth may not be the subject of either civil or criminal sanctions where

discussion of public affairs is concerned . . . . For speech concerning public affairs is more

than self-expression; it is the essence of self-government. Garrison, 379 U.S. at 74

(emphasis added); see also Counterman, 600 U.S. at 76 (overturning internet stalking

conviction

unless the speaker s words were intended (not just likely) to produce imminent

disorder       Grimmett, 59 F.4th at 692 (striking down criminal statute that prohibited

making a                                            with reckless disregard of falsity   W]e



11
                                                                 cy statements did not involve
matters of public concern, Saroya would still be entitled to the discovery she seeks
                                                                      must, on a case-by-case
basis, apply the totality of the circumstances test and balance the content, form, and context
of the speech, as well as any other pertinent factors, to determine whether speech involves
a purely private matter or is a statement about a matter of public concern intended to
influence public discussion about desired political or social change Johnson v. Freborg,
995 N.W.2d 374, 385 (Minn. 2023) (emphasis added).

                                             -25-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 26 of 34




conclude the Act likely criminalizes at least some truthful speech   a step the Constitution

forbids. (emphasis added); Matter of Welfare of A.J.B., 929 N.W.2d at 853 (striking down

stalking-by-mail criminal statute because it criminalized              the core of protected

First Amendment speech ).         Further, such First Amendment-protected speech about

matters of public concern is expressly excluded from the Minnesota cyberstalking and

harassment statute. See Minn. Stat. § 609.749, subdiv. 7 ([This sub                does not

impair the right of any individual or group to engage in speech protected by the federal,

state, or tribal constitutions . . . .   Therefore, information demonstrating the truth of

                statements be

has acted unlawfully

       Moreover, under Minnesota law, to commit the crime of cyberstalking, an



                                                See Minn. Stat. § 609.749, subdiv. 2(b); see

also 18 U.S.C. § 2261A (requiring an intent to kill, injure, harass, intimidate or place

                                                                          ; State v. Ortega,

2012 WL 4052361, at *2 (Minn. Ct. App. Sept. 17, 2012) (

of stalking when (a) they commit an act listed in Minn.Stat. § 609.749 . . . (2) the person

knows or has reason to know that these actions would cause the victim under the



such a reaction from the vi          .

will demonstrate that she was acting with an intention of exposing misconduct, not with

the state of mind necessary to commit a crime. They are thus relevant in that they will

                                             -26-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 27 of 34




harassment.

       B.
              Motives in Issuing the Press Release

       In its Answer, CAIR asserts absolute and qualified privilege as a defense. (Answer

dated Mar. 14, 2024 (ECF No. 23) at Affirmative Defense 4.) In doing so, CAIR put its

motive in disseminating the Press Release squarely at issue. See Moreno v. Crookston

Times Printing Co., 610 N.W.2d 321, 328 (Minn. 2000) (noting that common law malice,

ill will and improper motive will defeat a qualified privilege). As Saroya has alleged, CAIR

was motivated at least in part by a desire to discredit Saroya for telling the truth about her

experiences at CAIR. (See, e.g.

statements will further demonstrate                   was to silence and discredit Saroya, as

it has done to others who have spoken up about                             , in an attempt to

preserve its credibility.

relevant and discoverable.

       C.     The Discovery Saroya Seeks Is Relevant Because It Speaks to the

              Claims in the 2021 Litigation

       Among the defamatory statements that are at issue in this litigation are those in the




4.) Of course, the conduct that was alleged in the lawsuit was that Saroya had defamed

CAIR in making the alleged statements. (See, e.g., Kerbaugh Decl. Ex. 1 ¶¶ 166-87, 190-


                                             -27-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 28 of 34




97, 203.) And, of course, truth is a complete defense to defamation. See McKee v. Laurion,



and true statements, however disparaging

Alexander v. Ball, 2021 WL 2201491, at *3 (Minn. Ct. App. June 1, 2021) (same). It is

also a defense that Saroya asserted in the 2021 Litigation. (See, e.g., Kerbaugh Decl. Ex.

11 at Introduction, Sixth Affirmative Defense.)

       CAIR put the truth or falsity of its allegations about Saroya in the prior litigation, as



Release to publicly broadcast to all of its supporters, as well as news outlets, that it had

proven Saroya defamed it, and by way of inference, proven Saroya to be a liar making false

statements about CAIR. Documents and information demonstrating the truth of the

statements at issue in the 2021 Litigation speak directly to whether or not CAIR was able

to (or could ever) prove that those statements were defamatory, and thus false. For this

reason, too, the Court should order CAIR to produce documents and information

responsive to Request Nos. 19-23, 32-37 and 40-41, and Interrogatory Nos. 10-11 and 15-

19.

IV.    THE COURT SHOULD ORDER CAIR TO PRODUCE DOCUMENTS
       RELATING TO ITS CHAPTERS AND AFFILIATES IN ITS POSSESSION

       In

       CAIR Foundation, Inc. d/b/a Council on American-Islamic Relations and
       CAIR, including any of its parent or subsidiary organizations, affiliates,
       chapters, agents, representatives, attorneys, or anyone else acting on its
       behalf and under its control, and expressly includes but is not limited to
       Washington Trust Foundation, Inc., CAIR Action Network, Inc., Council on


                                             -28-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 29 of 34




       American-Islamic Relations Action Network, Inc. and CAIR National legal
       Defense Fund, Inc.

(Kerbaugh Decl. Exs. 2-5.) In response to numerous discovery responses, CAIR objected

to this definition

parties to this litigation and claims, complaints, or allegations involving entities and their

                                                                           See, e.g., id. Ex. 8

at Request Nos. 33-41.)                                                           the chapters

and national affiliates has no merit.

       First, w

for establishing whether CAIR should be obligated to produce documents. See Prokosch

v. Catalina Lighting, Inc., 193 F.R.D. 633, 636




when the party has the right, authority, or practical ability to obtain the documents from a

non-                                             see also In re Hallmark Capital Corp., 534

F. Supp. 2d 981, 982 (D. Minn. 2008) (same); Triple Five of Minn., Inc. v. Simon, 212

F.R.D. 523, 527 (D. Min

documents are within the physical possession of the party, but also whether the party has a



                                                              ness of CAIR, on one hand, and

its chapters and national affiliates, on the other, are inconsistent with reality. For example,




                                             -29-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 30 of 34




directs anyone who wants to form a CAIR chapter to do so through CAIR, and states that

                                                                     .

10.) The website identifies the CAIR chapters as part of CAIR and lists the Executive

Directors of the various CAIR chapters, virtually all of whom have email addresses ending

                                                Id.)

                                                              -wide National Council, which

routinely discusses pan-organization matters. (Id. Ex. 12 ¶ 4.) CAIR coordinates the

activities of its chapters, contributing fundraising, videos, material and themes to the

chapters. (Id. Ex. 12 ¶ 5.) CAIR controls all chapter press releases, which are composed

by its communications head, who edits and sets out public relations matters on their behalf.

(Id.) CAIR is involved with onboarding and training new hires within CAIR chapters.

(Id.) CAIR also routinely involves itself in chapter affairs, penalizing chapters and

individuals within them, and threatening disaffiliation, for actions that CAIR views as

detrimental to its brand. (Id.)

       Moreover, many of              statements that CAIR alleged constitute cyberstalking

and/or harassment in the Press Release, and alleged were defamatory in the 2021 Litigation,

related to the CAIR organization more broadly, and not just CAIR Foundation, Inc. Many



also for the chapters and the national affiliates. (See, generally, id. Ex. 1.) This is further

demonstrated by specific statements regarding, for example, CARE-CA (a chapter), CAIR-

NJ (a chapter) and the WTF (a national affiliate). (See, e.g., id. Ex. 1 ¶¶ 88, 119.) All of

the chapters and affiliates are inextricably intertwined with CAIR and serve core functions

                                             -30-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 31 of 34




in its national infrastructure. A statement regarding one is a statement regarding them all. 12

                                                                                      fusal to



offices around the country.

       Thus, i

the truth of statements that CAIR has falsely claimed were criminal and proven defamatory.

The Court should order CAIR to produce information relating to those entities in

actual possession, custody and control. See In re Hallmark Capital, 534 F. Supp. 2d at 983

(partner in partnership requ

control).

V.     CAIR CANNOT DEMONSTRATE THAT PRODUCING DOCUMENTS
       AND INFORMATION RESPONSIVE TO THE REQUESTS, ESPECIALLY
       AS SAROYA HAS NARROWED THEM, WOULD BE UNDULY
       BURDENSOME

       In addition to relevance, CAIR alleges burdensomeness as an objection to virtually

                                       It is axiomatic that the party objecting to discovery

bears the burden of showing that the discovery sought is unduly burdensome. See Mead

Corp. v. Riverwood Nat. Res. Corp., 145 F.R.D. 512, 515-

opposing discovery shoulders the burden of showing that [the] discovery request is overly

broad and burdensome . . . and the written objection must allege facts which demonstrate


12
   Notably, when Saroya intended to except a component part of the CAIR organization
in her statements, she did so. This is exemplified by one of the statements that CAIR
                                                                                              -


                                             -31-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 32 of 34




(citations omitted); Edeh v. Equifax Info. Servs., LLC, 2013 WL 1749912, at *3 (D. Minn.

                                                                                  how each

interrogatory or request for production is not relevant or how each question is overly broad,

                                                                      Serv., LLC, 2012 WL

                                                                    he Defendants object to

a discovery request, they cannot rely upon boilerplate objections, but rather they must

specify how each interrogatory or request for production is deficient and articulate the

particular harm that would accrue if they were required to respond to the discovery



       But CAIR has done nothing to meet its burden of showing that a search for the

relevant documents (narrowed in many cases by subject and date range) will be so great as

to justify preventing Saroya from obtaining evidence relating to her claims. And the scope



that multiple                                                                    -paragraph

Complaint in the 2021 Litigation, constituted cyberstalking and harassment, and were

proved to be defamatory.

       After having accused Saroya of cyberstalking, harassment, and defamation based

on dozens of supposed falsehoods, CAIR seeks to withhold evidence that the statements

are actually true by dusting off the predictable, wearisome and incorrect line that Saroya is

                                     See Hickman, 329 U.S. at 507 (the Rules provide for

                                                   can the time-

                                            -32-
       CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 33 of 34




seeks information relating to the extent of CAI

of the statements that CAIR claims constituted stalking and harassment, and were

defamatory. Since the discovery sought is relevant and CAIR cannot demonstrate undue

burden, the Court should order CAIR to produce fulsome responses to the at issue

Document Requests and Interrogatories.

                                      CONCLUSION

       For the foregoing reasons, Saroya respectfully requests that the Court grant her

Motion to Compel in its entirety, ordering CAIR to produce documents responsive to

Request Nos. 1-4, 8, 10-16, 18-25 and 32                                     Requests,

documents responsive to Request Nos. 33-41

Requests, and information responsive to Interrogatory Nos. 4 and 10-19

First Set of Interrogatories by a date certain.



                           [Signature Block on Following Page]




                                             -33-
      CASE 0:24-cv-00110-DWF-DTS Doc. 34 Filed 07/26/24 Page 34 of 34




Dated: July 26, 2024              SAUL EWING LLP

                                  By:     s/ Steven C. Kerbaugh
                                          Steven C. Kerbaugh (MN #0390429)
                                          33 S. 6th St., Suite 4750
                                          Minneapolis, MN 55402
                                          (612) 225-2946
                                          steve.kerbaugh@saul.com

                                          Jefferey S. Robbins
                                          (admitted pro hac vice)
                                          Joseph D. Lipchitz
                                          (admitted pro hac vice)
                                          Kelsey M. Westrich
                                          (admitted pro hac vice)
                                          131 Dartmouth Street, Suite 501
                                          Boston, MA 02116

                                  Attorneys for Plaintiff Lori Saroya




                                   -34-
